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                         UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF MASSACHUSETTS
                                  BOSTON DIVISION


STUDENTS FOR FAIR ADMISSIONS, INC.,

                              Plaintiff,

        v.

PRESIDENT AND FELLOWS OF HARVARD                         Civil Action No. 1:14-cv-14176-ADB
COLLEGE,

                              Defendant.


                JOINT MOTION FOR ENTRY OF SCHEDULING ORDER

        Plaintiff Students for Fair Admissions, Inc. (“SFFA”) and Defendant President and

Fellows of Harvard College (“Harvard”) hereby jointly move this Court for entry of the

following post-trial briefing schedule:

Brief                                                                  Date Due

Plaintiff’s Proposed Findings of Fact and Conclusions of Law           December 19, 2018

Defendant’s Proposed Findings of Fact and Conclusions of Law           December 19, 2018

Amicus Briefs in Support of Plaintiff or Defendant                     January 9, 2019

Plaintiff’s Response to Defendant’s Proposed Findings of Fact and      January 23, 2019
Conclusions of Law

Defendant’s Response to Plaintiff’s Proposed Findings of Fact and      January 23, 2019
Conclusions of Law


        The parties also propose that opening and response submissions for both parties be 75

pages or fewer. SFFA and Harvard respectfully request that the Court enter a scheduling order

as described above.


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                                   Respectfully submitted,


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Dated: November 13, 2018           Counsel for Defendant President and
                                   Fellows of Harvard College




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                             CERTIFICATE OF CONFERENCE

       In accordance with Local Rule 7.1(a)(2), I hereby certify that Harvard joins in this motion

and consents to the requested relief.

                                                    s/ William S. Consovoy
                                                    William S. Consovoy

                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to all counsel of record via the CM/ECF system.

                                                    s/ William S. Consovoy
                                                    William S. Consovoy




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